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  DISTRICT OF NEW JERSEY
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   In re:
                                                            Chapter 11
   LTL MANAGEMENT LLC,
                                                            Case No.: 21-30589 (MBK)
                             Debtor.
                                                            Honorable Michael B. Kaplan
  LTL MANAGEMENT, LLC,
                                                            Adv. Pro. No.: 21-03032 (MBK)
  Plaintiff,

  vs.

  THOSE PARTIES LISTED ON
  APPENDIX A TO COMPLAINT and
  JOHN AND JANE DOES 1-1000,

   Defendants.

   CERTIFICATE OF CONSENT REGARDING JOINT STIPULATION AND AGREED
   ORDER BETWEEN THE OFFICIAL COMMITTEE OF TALC CLAIMANTS I, THE
      OFFICIAL COMMITTEE OF TALC CLAIMANTS II, AND THE DEBTOR
    REGARDING THE EVIDENTIARY RECORD IN PRELIMINARY INJUNCTION
       ADVERSARY PROCEEDING AND TRIAL ON MOTIONS TO DISMISS

         I certify that with respect to the proposed Joint Stipulation and Agreed Order Between the
 Official Committee of Talc Claimants I, the Official Committee of Talc Claimants II, and the
 Debtor Regarding the Evidentiary Record in Preliminary Injunction Adversary Proceeding and
 Trial on Motions to Dismiss (the “Stipulation”), the following conditions have been met:

            (a) The terms of the Stipulation are identical to those set forth in the original
            Stipulation;
            (b) The signatures represented by the /s/ Arthur J. Abramowitz, Daniel Stolz,
            Paul DeFilippo, and Paul J. Winterhalter on the Stipulation reference the signatures of
            consenting parties obtained on the original Stipulation;
            (c) I will retain the original Stipulation for a period of 7 years from the date of closing of
            the case or adversary proceeding.
            (d) I will make the original Stipulation available for inspection on request of the Court
            or any party in interest; and




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 Final paragraph options:
 ☐ (e) If submitting the consent order and this certification to the Court conventionally, I
 acknowledge the signing of same for all purposes, including those under Fed. R. Bankr. P. 9011
 (sign certification in pen and ink and the Court will scan);

 ☒ (e) If submitting the consent order and this certification to the Court electronically via the
 presiding judge’s e mail box, as a registered Participant of the Court’s Case Management/
 Electronic Files (CM/ECF) System, I will simultaneously electronically file this certification with
 the Court, by use of my login and password, thereby signing same for all purposes including
 those under Fed. R. Bankr. P 9011.


 Dated: February 16, 2022                             /s/ Arthur J. Abramowitz
                                                      Signature of Attorney




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